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                   Check                                                  Not Return                          Same Day 2nd Day    Employee
       Tour        Out/In       UTC Time Stamp      Date       UTC Time Same Date Raw Time and Date Data      Duration Duration   Number
       S0000120733 Out           20,190,325,111,454 3/25/2019    11:14:54            435490.468680555555556                       31614
       S0000120733 In            20,190,325,182,915 3/25/2019    18:29:15            435490.7703125             7:14:21           31614
       S0000120784 Out           20,190,326,114,635 3/26/2019    11:46:35            435500.49068287037037                        31614
       S0000120784 In            20,190,326,193,556 3/26/2019    19:35:56            435500.81662037037037      7:49:21           31614
       S0000120889 Out           20,190,328,114,748 3/28/2019    11:47:48            435520.491527777777778                       31614
       S0000120889 In            20,190,328,183,119 3/28/2019    18:31:19            435520.771747685185185     6:43:31           31614
       S0000120941 Out           20,190,329,103,235 3/29/2019    10:32:35            435530.439293981481482                       31614
       S0000120941 In            20,190,329,180,348 3/29/2019    18:03:48            435530.752638888888889     7:31:13           31614
       S0000120990 Out           20,190,401,124,032   4/1/2019   12:40:32            435560.528148148148148                       31614
       S0000120990 In            20,190,401,193,303   4/1/2019   19:33:03            435560.814618055555556     6:52:31           31614
       S0000121239 Out           20,190,408,125,543   4/8/2019   12:55:43            435630.53869212962963                        31614
       S0000121239 In            20,190,408,165,834   4/8/2019   16:58:34            435630.707337962962963     4:02:51           31614
       S0000121522 Out           20,190,415,121,447 4/15/2019    12:14:47            435700.510266203703704                       31614
       S0000121522 In            20,190,415,193,103 4/15/2019    19:31:03            435700.813229166666667     7:16:16           31614
       S0000121590 Out           20,190,416,114,304 4/16/2019    11:43:04            435710.488240740740741                       31614
       S0000121590 In            20,190,416,192,552 4/16/2019    19:25:52            435710.80962962962963      7:42:48           31614
       S0000121610 Out           20,190,417,104,907 4/17/2019    10:49:07            435720.450775462962963                       31614
       S0000121610 In            20,190,417,182,000 4/17/2019    18:20:00            435720.763888888888889     7:30:53           31614
       S0000121699 Out           20,190,418,120,619 4/18/2019    12:06:19            435730.504386574074074                       31614
       S0000121699 In            20,190,418,184,028 4/18/2019    18:40:28            435730.778101851851852     6:34:09           31614
       S0000121737 Out           20,190,419,160,342 4/19/2019    16:03:42            435740.669236111111111                       31614
       S0000121737 In            20,190,419,215,926 4/19/2019    21:59:26            435740.916273148148148     5:55:44           31614
       S0000121802 Out           20,190,422,142,551 4/22/2019    14:25:51            435770.601284722222222                       31614
       S0000121802 In            20,190,422,212,831 4/22/2019    21:28:31            435770.894803240740741     7:02:40           31614
       S0000121851 Out           20,190,423,122,418 4/23/2019    12:24:18            435780.516875                                31614
       S0000121851 In            20,190,423,200,120 4/23/2019    20:01:20            435780.834259259259259     7:37:02           31614
       S0000121910 Out           20,190,424,114,130 4/24/2019    11:41:30            435790.487152777777778                       31614
       S0000121910 In            20,190,424,182,321 4/24/2019    18:23:21            435790.766215277777778     6:41:51           31614
       S0000121969 Out           20,190,425,120,717 4/25/2019    12:07:17            435800.50505787037037                        31614
       S0000121969 In            20,190,425,200,131 4/25/2019    20:01:31            435800.834386574074074     7:54:14           31614
       S0000122017 Out           20,190,426,104,723 4/26/2019    10:47:23            435810.449571759259259                       31614
       S0000122017 In            20,190,426,165,754 4/26/2019    16:57:54            435810.706875              6:10:31           31614




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                   Check                                                  Not Return                          Same Day 2nd Day    Employee
       Tour        Out/In       UTC Time Stamp      Date       UTC Time Same Date Raw Time and Date Data      Duration Duration Number
       S0000122064 Out           20,190,429,114,419 4/29/2019    11:44:19            435840.489108796296296                       31614
       S0000122064 In            20,190,429,183,847 4/29/2019    18:38:47            435840.77693287037037       6:54:28          31614
       S0000122131 Out           20,190,430,113,945 4/30/2019    11:39:45            435850.4859375                               31614
       S0000122131 In            20,190,430,192,805 4/30/2019    19:28:05            435850.811168981481481      7:48:20          31614
       S0000122167 Out           20,190,501,114,401   5/1/2019   11:44:01            435860.488900462962963                       31614
       S0000122167 In            20,190,501,185,946   5/1/2019   18:59:46            435860.79150462962963       7:15:45          31614
       S0000122234 Out           20,190,502,144,318   5/2/2019   14:43:18            435870.613402777777778                       31614
       S0000122234 In            20,190,502,225,120   5/2/2019   22:51:20            435870.952314814814815      8:08:02          31614
       S0000122274 Out           20,190,503,123,230   5/3/2019   12:32:30            435880.522569444444444                       31614
       S0000122274 In            20,190,503,210,336   5/3/2019   21:03:36            435880.8775                 8:31:06          31614
       S0000122312 Out           20,190,506,114,251   5/6/2019   11:42:51            435910.488090277777778                       31614
       S0000122312 In            20,190,506,182,606   5/6/2019   18:26:06            435910.768125               6:43:15          31614
       S0000122383 Out           20,190,507,120,055   5/7/2019   12:00:55            435920.500636574074074                       31614
       S0000122383 In            20,190,507,202,225   5/7/2019   20:22:25            435920.848900462962963      8:21:30          31614
       S0000122428 Out           20,190,508,115,834   5/8/2019   11:58:34            435930.49900462962963                        31614
       S0000122428 In            20,190,508,204,853   5/8/2019   20:48:53            435930.867280092592593      8:50:19          31614
       S0000122481 Out           20,190,509,150,615   5/9/2019   15:06:15            435940.629340277777778                       31614
       S0000122481 In            20,190,510,000,437 5/10/2019     0:04:37      X     435950.00320601851851852             8:58:22 31614
       S0000122531 Out           20,190,510,122,654 5/10/2019    12:26:54            435950.518680555555556                       31614
       S0000122531 In            20,190,510,194,457 5/10/2019    19:44:57            435950.822881944444445      7:18:03          31614
       S0000122611 Out           20,190,513,120,926 5/13/2019    12:09:26            435980.506550925925926                       31614
       S0000122611 In            20,190,513,185,833 5/13/2019    18:58:33            435980.790659722222222      6:49:07          31614
       S0000122648 Out           20,190,514,122,025 5/14/2019    12:20:25            435990.514178240740741                       31614
       S0000122648 In            20,190,514,210,910 5/14/2019    21:09:10            435990.881365740740741      8:48:45          31614
       S0000122698 Out           20,190,515,121,324 5/15/2019    12:13:24            436000.509305555555556                       31614
       S0000122698 In            20,190,515,204,839 5/15/2019    20:48:39            436000.867118055555556      8:35:15          31614
       S0000122759 Out           20,190,516,161,048 5/16/2019    16:10:48            436010.674166666666667                       31614
       S0000122759 In            20,190,516,232,856 5/16/2019    23:28:56            436010.978425925925926      7:18:08          31614
       S0000122862 Out           20,190,520,121,708 5/20/2019    12:17:08            436050.511898148148148                       31614
       S0000122862 In            20,190,520,191,145 5/20/2019    19:11:45            436050.799826388888889      6:54:37          31614
       S0000122926 Out           20,190,521,120,240 5/21/2019    12:02:40            436060.501851851851852                       31614
       S0000122926 In            20,190,521,191,508 5/21/2019    19:15:08            436060.802175925925926      7:12:28          31614




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